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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

TEXAS STATE LULAC; VOTO LATINO,                 §
     Plaintiffs,                                §
                                                §
v.                                              §
                                                §
BRUCE ELFANT, in his official capacity          §
as the Travis County Tax Assessor-              §
Collector; JACQUELYN CALLANEN, in               §
her official capacity as the Bexar County       §
Elections        Administrator;      ISABEL     §
LONGORIA, in her official capacity as the       §
Harris County Elections Administrator;          §
YVONNE RAMON, in her official                   §
capacity as the Hidalgo County Elections        §
Administrator; MICHAEL SCARPELLO,               §   CIVIL ACTION NO. 1:21-CV-546-LY
in his official capacity as the Dallas County   §
Elections Administrator; and LISA WISE,         §
in her official capacity as El Paso County      §
Elections Administrator,                        §
        Defendants,                             §
                                                §
and                                             §
                                                §
KEN PAXTON, in his official capacity as         §
the Attorney General of Texas, LUPE C.          §
TORRES, in his official capacity as Medina      §
County Elections Administrator, and             §
TERRIE PENDLEY, in her official                 §
capacity as Real County Tax Assessor-           §
Collector,                                      §
        Intervenor-Defendants.                  §


       INTERVENOR-DEFENDANTS KEN PAXTON, LUPE C. TORRES,
         AND TERRIE PENDLEY’S REPLY IN SUPPORT OF MOTION
                     FOR STAY PENDING APPEAL
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I.      A Stay Pending Appeal is Warranted Given the Serious, Novel Legal Questions Raised
        by Intervenors.

        A.      The Court Lacked Jurisdiction to Hear This Case.

        Plaintiffs have failed to prove that they have either constitutional or statutory standing with

respect to each provision they challenged. As Intervenors noted in their Motion to Stay, for diversion

of resources to constitute cognizable harm, “[t]he change in plans must still be in response to a

reasonably certain injury imposed by the challenged law.” Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th

Cir. 2018) (emphasis added). In other words, the diversion of resources must be traceable to the

contested statute, and it must be made to prevent the organization from suffering what otherwise

would be an injury-in fact. Plaintiffs do not meet either requisite. The corporate representative of each

Plaintiff admitted that the organization altered their programs and activities in response to “all the

other laws that came into effect post-January,” including election laws in other states. Paxton’s Mot.

Summ. J. App. 258, ECF 138-8 (Voto Latino Dep. 55:14–56:16); App. 163–64, ECF 138-4 (LULAC

Dep. 28:19–30:18). And each representative stated that they could not tease out what portion of their

resources went toward SB1111, if any, and what went to counteract separate legislation.

        Plaintiffs counter that the representatives identified the programs that were affected by

SB1111, but these self-serving statements at most introduce a genuine issue of material fact given that

the diversion of resources must be “significant” to constitute an injury and the other laws Plaintiffs

cite as contributing to the diversion of resources introduced extensive changes to which Plaintiffs

would have had to react. NAACP. v. City of Kyle, Tex., 626 F.3d 233, 238 (5th Cir. 2010); see, e.g., App.

167, 169, ECF 138-4 (LULAC Dep. 41:2–4, 50:8–19) (stating that $1 to 2 million LULAC intended

to spend were in response to SB1111 and SB1). Plaintiffs had an obligation to show that the specific

provisions they challenged—as opposed to other election laws—caused their alleged financial injury.

See California v. Texas, 141 S. Ct. 2104, 2115, 2119 (2021). Because Plaintiffs could not point to a drain

on their resources attributable to the challenged provisions alone, they lack standing.
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        What’s more, Plaintiffs have failed to identify a reasonably certain injury that their alleged

expenditures were directed at, which is fatal to their diversion of resources theory. The principal focus

of Plaintiffs’ alleged disbursements were changes made to educate staff and voters about the new

residency requirements. But courts have held that voter education and an interest in seeing the law

obeyed are abstract concerns insufficient to confer standing, particularly when the organization already

conducts such efforts as part of its routine activities. Nat’l Taxpayers Union, Inc. v. United States, 68 F.3d

1428, 1433–34 (D.C. Cir. 1995). Plaintiffs argue that the “costs” attributable to SB1111 are “’beyond

those normally expended’ in pursuit of Plaintiffs’ mission.” Pls. Resp., ECF 182 at 13 (quoting Nat’l

Taxpayers Union, 68 F.3d at 1434)). But, again, Plaintiffs conflate the combined effects of multiple laws

rather than focusing on the impact that the challenged provisions alone had on their programs and

activities. Voto Latino’s corporate representative specifically stated that the organization ceased its

operations in Colorado as a consequence of laws in Arizona, Georgia, and Texas as well Voto Latino’s

lobbying efforts in Congress. App. 261, ECF 138-8 (Voto Latino Dep. 68:1–24). The elimination of

the program is not evidence that SB1111 forced Plaintiffs to assume out-of-the-ordinary expenses.

        The other injury Plaintiffs claim is a chill to their First Amendment rights. However, the only

provision Plaintiffs challenged pursuant to the Free Speech Clause, Tex. Elec. Code § 1.015(b), is

directed at voters, not organizations that aid voters in registering to vote. Plaintiffs claim that a separate

provision in the Election Code, § 13.002(a)(2), which predates SB1111, extends liability to Plaintiffs,

but even assuming that interpretation is correct, § 13.002(a)(2) states that the entity must “knowingly or

intentionally … induce another person to make a false statement on a registration application” for

liability to attach. (Emphasis added). Plaintiffs have not presented evidence that they intend to meet

this mens rea. Plaintiffs contend that their lack of mens rea is irrelevant because the risk of prosecution

remains, ECF 182 at 14, but Plaintiffs have exerted no effort to determine how enforcement agencies

would interpret either § 1.015(b) or § 13.002(a)(2), and they have cited no evidence that county

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registrars would refer them for prosecution in the event that a voter they assisted submitted wrong

information without Plaintiffs’ knowledge. Their entire argument hinges on a “highly attenuated chain

of possibilities” that “does not satisfy the requirement that threatened injury must be certainly

impending.” Clapper v. Amnesty Intern. USA, 568 U.S. 398, 410 (2013). That is particularly the case

regarding § 15.051(a), which is not a criminal statute, and has no effect beyond requiring registrars to

send a confirmation notice to voters who register using an impossible address.

        Turning to statutory standing, Section 1983 provides a cause of action only when the plaintiffs

suffer “the deprivation of any rights, privileges, or immunities secured by the Constitution and laws.”

42 U.S.C. § 1983. In short, plaintiffs must have suffered a constitutional wrong. An injury to plaintiffs’

pocketbook, such as a diversion of resources, is not sufficient. After all, “a plaintiff who has been

subject to injurious conduct of one kind [does not] possess by virtue of that injury the necessary stake

in litigating conduct of another kind, although similar, to which he has not been subject.” Nat’l Fed’n

of the Blind of Tex., Inc. v. Abbott, 647 F.3d 202, 209 (5th Cir. 2011). In its order, this Court cites a

number of cases that allowed an organization to litigate a Section 1983 claim, but each of these

organizations were bringing suit on behalf of their members, who suffered a deprivation of rights. See

Order on Cross-Mots. Summ. J., ECF 171 at 14. The Court correctly determined that Plaintiffs lacked

associational standing. Id. at 6–7. Plaintiffs therefore must rely on their own constitutional rights to

qualify for relief under Section 1983, which is limited to their claim that SB1111 chills their ability to

advise voters.

        As abovementioned, Plaintiffs only brough a Free Speech claim against § 1.015(b). Intervenor

Paxton maintains for the reasons stated herein—and in earlier briefings—that the provision only

applies in narrow circumstances and that Plaintiffs’ fear is not only speculative but also based on a

misinterpretation of the law. However, even if this Court were to accept Plaintiffs’ assertion, the

imposition that the Residence Provision allegedly has on Plaintiffs’ First Amendment rights cannot

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confer statutory standing for Plaintiffs to challenge the P.O. Box Provision and the Temporary

Relocation Provision under an Anderson-Burdick claim. This is because “standing is not dispensed in

gross.” In re Gee, 941 F.3d 153, 161 (5th Cir. 2019). And Plaintiffs cannot bootstrap an injury from

one statutory provision to challenge another. See California, 141 S. Ct. at 2115, 2119. They must meet

the requirement for each provision they challenge and the relief that they seek.

        B.      The P.O. Box Provision Does Not Unduly Burden the Right to Vote.

        Plaintiffs gloss over the Court’s finding that the P.O. Box Provision furthers important state

interests by helping voters get the right ballots and preventing voter-registration fraud. ECF 171 at

24–25. Plaintiffs instead focus on the Court’s conclusion that in one possible circumstance, where

Texans change their address to a valid residential address, the P.O. Box Provision imposes an

unjustified burden. ECF 182 at 11–12. But Plaintiffs brought a facial challenge, and “[a] facial

challenge must fail where the statute has a plainly legitimate sweep,” Crawford v. Marion Cty. Election

Bd., 553 U.S. 181, 202 (2008) (quotation omitted), which the Court recognized it does. Moreover, the

severity of the burden is measured based on how it affects voters as a group, id. at 202-03, and any

burden here is minimal. Because this Court acknowledged that requiring documentation of residence

from voters who register with a P.O. box is not a severe restriction but rather a reasonable and

nondiscriminatory restriction, ECF 171 at 24–25, the law does not need to be narrowly tailored to the

State’s interests. See Burdick v. Takushi, 504 U.S. 428, 434 (1992). A determination that one possible

application of the P.O. Box Provision may not directly advance the State’s interests in preventing

voter-registration fraud and getting the correct ballots to voters is therefore not sufficient to prove—

as a matter of undisputed fact—that the P.O. Box Provision imposes an unconstitutional burden and

should be partially enjoined.

        Nor did Plaintiffs offer other evidence to prove the P.O. Box Provision imposes an undue

burden. As Intervenors noted in their Motion to Stay, ECF 174 at 9, which Plaintiffs did not rebut in

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their response, Plaintiffs provided no evidence that voters who change their address have difficulty

complying with the documentation requirement. See Crawford, 553 U.S. at 198 (analyzing the burden

on voters of obtaining identification rather than the consequence of attempting to vote without

identification). Furthermore, even if the consequences of not complying with the P.O. Box Provision

was a relevant factor under the Anderson-Burdick balancing test—which it is not—Plaintiffs have no

evidence that a failure to comply would prevent Texans from voting or otherwise unconstitutionally

burden their voting rights. See ECF 174 at 9. After all, Texans who fail to comply and are placed on

the suspense list can still vote by regular ballot as long as they sign a statement of residence. See id. The

response thus does not negate Intervenors’ showing that they are likely to succeed on appeal that the

P.O. Box Provision is lawful.

        C.       When Read in Proper Context, the Residence Provision Does Not Limit
                 Expressive Conduct.

        Intervenor Paxton explained at length in his briefing for summary judgment how the

Residence Provision, when read in context of the Election Code, only applies when voters register at

an address that is not their domicile for the purposes of influencing an election. 1 See, e.g., ECF 138 at

10–12; Paxton’s Resp. to Pls. Mot. For Summ. J., ECF 154-1 at 14–16. Subsection (a) provides that a

“residence” is a “domicile, that is, one’s home and fixed place of habitation to which one intends to

return after any temporary absence.” Tex. Elec. Code § 1.015(a). Subsection (b), the residence

provision challenged here, provides that “[a] person may not establish residence for the purpose of

influencing the outcome of a certain election.” Taken together, a person may establish any residence

he chooses—so long as his intent in doing so is to make that residence his fixed place of habitation.

Id. at § 1.015(b). Plaintiffs ignore these arguments, stating instead that Intervenor Paxton relied



1
 As previously noted, Intervenors Torres and Pendley take no position regarding the interpretation of Texas Election
Code § 1.015(b). That they take no position does not render the Attorney General’s position incorrect. Contra ECF
182 at 1.

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exclusively on the historical context surrounding SB 1111’s passage to support the State’s

interpretation of § 1.015(b). ECF182 at 4. This is false. Texas law provides that “[i]n construing a

statute . . . a court may consider among other matters” the “circumstances under which the statute

was enacted,” along with “the consequences of a particular construction.” Tex. Gov’t Code § 311.023.

Intervenor Paxton explained the events leading up to SB1111 in that capacity.

        Plaintiffs also contend that the Residence Provision regulates core political speech. ECF 182

at 7. However, there is no expressive conduct associated with using your home address to vote. For

conduct to be protected by the First Amendment, it must contain sufficient “communicative

elements” such as being intended to convey a particular message and a likelihood that the message

will be understood. Voting for Am., Inc. v. Steen, 732 F.3d 382, 388 (5th Cir. 2013). The act of registering

to vote where one lives does not meet these characteristics, as it is required of all voters, and observers

would not be able to apprehend the meaning behind the voter’s message assuming one was intended.

Plaintiffs’ constitutional claims regarding the residence provision thus depend on adopting an

expansive interpretation of § 1.015(b) that is contrary to the interpretation of the Secretary of State,

see App. 048, ECF 138-3 (Ingram Dep. 90:18–4); the requirement that statutes be construed as a whole,

Youngkin v. Hines, 546 S.W.3d 675, 680 (Tex. 2018); and the canon of constitutional avoidance, Quick

v. City of Austin, 7 S.W.3d 109, 115 (Tex. 1998); Tex. Gov’t Code § 311.021(1).

        Plaintiffs seem to argue that the Court should nonetheless adopt Plaintiff’s interpretation

because to do otherwise would render the provision surplusage. But the Supreme Court of Texas has

recently confirmed that that canon is not the unwavering demand that Plaintiffs’ argument requires.

Whole Woman’s Health v. Jackson, 642 S.W.3d 569, 579–83 (Tex. 2022). Plaintiffs also ask the Court to

reject the Secretary of State interpretation because the Secretary offered it during litigation rather than

through a more formal process. However, Plaintiffs filed this lawsuit just one week after the Governor

signed SB1111 into law and then proceeded to litigate this case on an expedited schedule. The

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Secretary never had the chance to complete the formal process prior to litigation as a result of

Plaintiffs’ rush to the courthouse. Nor had the Secretary received any official inquiries from registrars,

voters, or even Plaintiffs concerning the enforcement of § 1.015(b) that would have triggered a more

formal proceeding. If anything, Plaintiffs’ argument highlights why courts caution restraint when

confronted with a pre-enforcement, facial challenge to a state law; it “carries too much promise of

‘premature interpretatio[n] of statutes.’” Sabri v. United States, 541 U.S. 600, 609 (2004) (quoting United

States v. Raines, 362 U.S. 17, 22 (1960)).

        D.      The Temporary-Relocation Provision Allows College Students to Establish
                Residence at Their Family Home or College Housing.

        As Intervenors explained in their Motion to Stay, the Temporary-Relocation Provision does

not disenfranchise college students, and others similarly situated, and the Court’s contrary conclusion

was based on a failure to give § 1.015(c) full effect when interpreting § 1.015(f). ECF 174 at 13–14.

Plaintiffs do not explain how the Court’s interpretation properly harmonizes these provisions, but

simply double-down on their claim that some would-be voters have no residence at which to register.

See ECF 182 at 9–11. Plaintiffs insist that “would-be voters cannot register at their home while

temporarily away from it because, by definition, they do not ‘inhabit[] the place at the time of

designation and intend[] to remain there.’” Id. at 9 (quoting Tex. Elec. Code § 1.105(f)). But Plaintiffs

misleadingly quote § 1.105(f). That provision prohibits a person from designating a “previous

residence”—not a current residence—as their home if they do not inhabit it at the time. Tex. Elec.

Code § 1.105(f). Section 1.105(c) provides that a person does not lose their residence by leaving it

temporarily. Reading these provisions together, as one must, see King v. St. Vincent’s Hosp., 502 U.S.

215, 221 (1991), a would-be voter can register at their home while temporarily away from it, because

their home does not cease to be their residence due to a temporary absence.

        Plaintiffs next suggest that “[u]nrebutted expert testimony” proves that “college students are

particularly likely to be left without a home for voting purposes because . . . [they] do not ‘inhabit’ the
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family residences they are away from.” ECF 182 at 9. But Plaintiffs’ expert unsurprisingly misreads

the statutory provision in the same way that Plaintiffs do. Under § 1.105(c), college students can

register at their family home despite not currently inhabiting it because their family home does not

cease to be their residence simply because they left it for temporary purposes. Conversely, if college

students want to make their college housing their home, then that becomes their residence. Under

§ 1.105(d), voters are only barred from acquiring residence if the voters come to the location: (1) “for

temporary purposes; and (2) “without the intention of making that place the person’s home.” The

Election Code does not prevent voters from establishing a residence simply because the voters know

that they will inhabit the location for a fixed period of time. In any event, courts—not experts—decide

questions of law. See Askanase v. Fatjo, 130 F.3d 657, 673 (5th Cir. 1997); Commodores Entm’t Corp. v.

McClary, 879 F.3d 1114, 1128-29 (11th Cir. 2018). Intervenors respectfully contend that there is a

substantial likelihood the Fifth Circuit will construe § 1.105(f) to be constitutional and conclude that

it does not disenfranchise would-be voters, especially when Plaintiffs, including Plaintiffs’ expert, have

offered zero evidence of an identifiable would-be voter who has been disenfranchised.

II. The Other Factors Favor a Stay.

        It bears repeating: if there is one “principle” that can be drawn from the Supreme Court’s

recent voting cases, it is that “court changes of election laws close in time to the election are strongly

disfavored.” Tex. All. for Retired Ams. v. Hughs, 976 F.3d 564, 567 (5th Cir. 2020) (examining Republican

Nat'l Comm. v. Democratic Nat'l Comm., 140 S. Ct. 1205, 1207 (2020); North Carolina v. League of Women

Voters of N. C.¸574 U.S. 927 (2014); Husted v. Ohio State Conference of N.A.A.C.P., 573 U.S. 988 (2014);

Veasey v. Perry, 574 U.S. 951 (2014); Purcell v. Gonzalez, 549 U.S. 1, 5 (2006)). Keeping this principle in

mind, the Fifth Circuit, just eight weeks ago, stayed this Court’s injunction of Tex. Elec. Code §

13.143(d-2), which required that voters registering to vote by fax machine to later deliver a hardcopy

of their application with an original, wet signature, because of the possible effects the injunction would

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have “in the crucial months leading up to the voter registration deadline.” Vote.Org v. Callanen, 39 F.4th

297, 309 (5th Cir. 2022). The proximity to the voter registration deadline, from the Fifth Circuit’s

opinion in Vote.org to today, has narrowed considerably, meaning that the changes prompted by this

Court’s Order to Texas’s residency requirements comes just as registrations for the November 2022

General Election reach their apex.

        Nevertheless, Plaintiffs contend that altering Texas’s residency laws will not undermine

“election integrity” or cause “voter confusion” because, by their reasoning, “it is already illegal . . . for

someone to register using a fraudulent address.” See ECF 182 at 15. This argument, however,

disregards record evidence that SB1111 was enacted in response to multiple incidents of individuals

registering at false addresses to influence the outcome of an election. See ECF 154-1 at 16–17. The

law was therefore designed to eliminate opportunities for fraud by clarifying what constituted an illegal

residence as well as helping counties identify red flags, such as when voters listed an impossible address

on their registration form. Also, Plaintiffs ignore the State’s interest in maintaining uniform election

laws in all 254 counties. Cf. Abbott v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018) (finding that the inability

to enforce duly enacted, constitutional laws inflicts irreparable harm on the State). The Fifth Circuit

in Vote.org acknowledged that making voter registration law uniform throughout Texas “minimize[s]

confusion among voters and county registrars,” 39 F.4th at 309, whereas having requirements and

procedures that vary between counties can lead to uncertainty and frustration as well as mistakes.

        For these reasons, the public interest favors a stay. In cases like these, the interests of state

officials as the appealing party often “merge with” those “of the public and therefore tip public interest

in favor of a stay. Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (per curiam). This is particularly

true when a district court’s order risks confusing voters or incentivizes them to stay away from the

polls. Purcell, 549 U.S. at 4–5; see also, e.g., Merrill v. Milligan, 142 S. Ct. 879, 881 (2022) (Kavanaugh, J.,

concurring). Plaintiffs argue that SB1111 burdens their free speech rights, altering the calculus, but

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their First Amendment claim is limited to a single challenged provision, § 1.015(b), and is based on a

misreading of the law. Moreover, Plaintiffs have not presented evidence that they, much less voters

and other members of the public, face a credible risk of prosecution, seeing as the State adopts a

narrow reading of the statute and Plaintiffs failed to depose any office with the power to enforce it.

         Indeed, the only individual Plaintiffs identified that may have been affected by SB1111 was

said to be confused as to whether his residence “counted as a commercial residence.” 2 Pls. Mot. Summ.

J. App. 164–65, ECF 141 (Harris Dep. 147:6–148:22). However, the SB1111 provision that pertains

to commercial addresses is not a criminal statute, and in any event, the requirement that voters register

where they live rather than where they work does not implicate expressive conduct. Thus, to the extent

the Harris County Election Administrator described the voter’s situation correctly, it cannot stand as

evidence of public harm. The choice before this Court is therefore a well-recognized, concrete,

irreparable injury suffered by the State on the one hand and speculation about the future actions of

unnamed parties not before this Court on the other. In such a scenario, the public interest is best

served by preserving the status quo.

                                                  CONCLUSION

         Intervenors have raised substantive and meritorious issues with this Court’s Permanent

Injunction that encompass serious legal questions of first impression. The Fifth Circuit therefore

should be provided an opportunity to review the merits of this Court’s decision before Texas’s election

laws are permanently enjoined right as the voter registration deadline approaches. Intervenors

respectfully request that the Court grant this Motion to Stay, while the appeal is pending.




2 A footnote in Plaintiffs’ Response to Intervenors’ Motion to Stay references a short exchange between counsel for
Intervenor Paxton and Harris County Election Administrator Isabel Longoria, during which Administrator Longoria
described an informal conversation she had with a photographer who had come to take her photo. ECF 182 at 16 n.1.
Administrator Longoria did not have any personal knowledge regarding the photographer’s situation and could not inform
counsel whether the photographer was able to register to vote or what actions he ultimately took with respect to
establishing his residence. Pls. Mot. Summ. J. App. 164–65, ECF 141 (Harris Dep. 147:6–148:22).

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Dated: August 29, 2022              Respectfully submitted.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2022, I electronically filed a true and correct copy of the
foregoing document through the Court’s ECF system, which automatically serves notification of the
filing on counsel for all parties.


                                               /s/ Kathleen T. Hunker
                                               KATHLEEN T. HUNKER
                                               Special Counsel




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